             Case 1:21-cr-00128-RC Document 143 Filed 08/31/23 Page 1 of 15




                      UNITED STATES DISTRICT COURT FOR
                          THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                                        Case No.: 1:21-cr-00128-RC

                 v.


WILLIAM ALEXANDER POPE,

                             Defendant .

    OPPOSITION TO THE GOVERNMENT’S EMERGENCY MOTION NO. 140
                              &
        CROSS-MOTION TO REMOVE SENSITIVITY DESIGNATIONS
       CROSS-MOTION TO RECOGNIZE SECTION 11(A) MATERIALS
      CROSS-MOTION TO REMOVE GOVERNMENT FILING ECF NO. 90

Overview: CAPD_009734532 is Not Subject to the Protective Order

           The government filed an emergency motion (ECF No. 140) to remove my motion to

compel (ECF No. 139) claiming that I violated Section 4(d) of the protective order (ECF No. 26)

by quoting from CAPD_009734532,1 which the government insists is highly sensitive. However,

the only provision in the protective order allowing discovery like CAPD_009734532 to be

redacted is Section 8, and such redactions “render the materials no longer subject to this order.”

           Furthermore, Section 11(a) of the protective order clearly states that materials that will

“later become” public are automatically excluded from the protective order. Since I will need to

use CAPD_009734532 to examine Tomasula on the witness stand, CAPD_009734532 will

become a public record, and thus is automatically excluded from the protective order.

           Also, the government frequently quotes sealed materials, so ECF No. 140 is hypocritical.


1
    I have instructed my standby counsel to send CAPD_009734532 to the Court as a temporarily sealed Exhibit 1.
          Case 1:21-cr-00128-RC Document 143 Filed 08/31/23 Page 2 of 15




The Government has a Track Record of Disseminating Sealed Materials in Filings

        ECF No. 26 at Section 4(d.), makes clear that “permission from the Court” allows

materials to be disclosed in court filings. Since the Court has not objected to the government

using screenshots from highly sensitive CCTV video files in government filings, and since the

Court has not objected to the government quoting or describing materials subject to the

protective order in government filings, a reasonable person like myself would presume there was

a general allowance by the court for parties to quote materials in filings for the purpose of

illustrating factual or legal points.

        The government’s dissemination of sealed materials has not just been restricted to initial

charging documents. In ECF No. 90 at 2, the government quoted from sensitive materials subject

to the protective order, such as MPD-005-000035, filmed by undercover Officer Tomasula.2 The

government’s sensitive quotations included “Go! Go! Go!” and “Keep going!” from when

Tomasula incited protestors to advance up the steps to the Capitol, as well as “Drain the swamp”

and “Whose house? Our house!”

        When I quoted from Tomasula’s videos in ECF No. 72, the government made no Section

4(d) objection, which reinforced my belief that using quotations was permitted by the Court for

making legal and factual points in filings. But in ECF No. 90, the government quoted lines from

Tomasula that I did not quote in my filings (“U.S.A.! U.S.A.! U.S.A.!”). Essentially, the

government disseminated additional, quoted material from the undercover police.




2
  I pointed out in ECF No. 139 at 12, that the government quoted sealed Tomasula materials in their own public
filing (ECF No. 90), yet the government hypocritically filed ECF No. 140, complaining about me quoting Tomasula.
             Case 1:21-cr-00128-RC Document 143 Filed 08/31/23 Page 3 of 15




           These quotations used by the government in ECF No. 90, are also designated by the

government as highly sensitive in CAPD_009734532 (the Internal Affairs Investigation of

Tomasula),3 which is the same document the government now complains about me quoting from.

           How can I to be penalized for quoting CAPD_009734532 when the government has

quoted information contained in this document in their own public filings?




Figure 1: The DOJ never objected to Tomasula quotations in ECF No. 72 or 82, and the government quoted from sealed Tomasula
videos in ECF No. 90 at 2 (see above), including quotations I never used. The DOJ now designates these quotes highly sensitive.

           The Honorable Judge Contreras previously referenced the government’s motion, ECF No

90, in a Court order (ECF No. 103 at 6). Since the Court referred to a government motion

containing quotations from Tomasula (which the government now designates as highly sensitive

3
    CAPD_009734532 includes an MPD transcription of Tomasula’s January 6 video on pages 32 through 40.
            Case 1:21-cr-00128-RC Document 143 Filed 08/31/23 Page 4 of 15




in CAPD_009734532), I was naturally led to believe that quoting information contained in

CAPD_009734532 was permitted by the Court. If quoting information contained in

CAPD_009734532 were objectionable to the Court, I presume Judge Contreras would have

removed the government’s filing, ECF No. 90, rather than citing it as justification for an order.

The Government has not Sanctioned Jack Smith, Matthew Graves, and Kelly Moran

          Ironically, the day after the government petitioned this Court to remove ECF No. 139, the

government’s own Special Counsel, Jack Smith, submitted a public filing in the case of United

States v. Donald J. Trump (FLSD, 23-cr-80101-AMC, ECF No. 129) which quotes extensively

from Grand Jury materials that were sealed by the D.C. District Court.4 Why has the Department

of Justice not filed an emergency motion to remove Jack Smith’s filing in the Trump case? Why

has the government not filed an emergency motion to remove ECF No. 90, which was filed by

Matthew Graves and Kelly Moran in this case?




Figure 2: These attorneys quoted Grand Jury materials in the case of U.S. v. Trump that were sealed by the D.C. District Court

4
 The government’s public filing in U.S. v. Trump demonstrates that the government is not actually concerned with
quoting from sealed materials because they do it all the time in my case and others. Rather, the government is
concerned that I am putting on an effective defense and fears that this Court will grant ECF No. 139.
            Case 1:21-cr-00128-RC Document 143 Filed 08/31/23 Page 5 of 15




         A fair and honest government would remove the plank from their own eye by bringing

down the hammer on Jack Smith, David Harbach, Julie Edelstein, Jay Bratt, Michael Thakur,

Matthew Graves, and Kelly Moran before they look for specks in the eyes of a Pro Se Defendant.

The government’s hypocrisy in matters like this results in two standards of justice in America,

and declining public trust in government institutions.




Figure 3: The DOJ should remove the plank from their own eye before looking for specks in mine.
             Case 1:21-cr-00128-RC Document 143 Filed 08/31/23 Page 6 of 15




The Government Violated Sections 1, 8, and 12 of the Protective Order

           ECF No. 26 at Section 1, says “this Order will not be used to designate materials as

Sensitive or Highly Sensitive unless such designation is necessary.” In ECF No. 140, the

government failed to offer a reason for why the highly sensitive designation is necessary.

           Of the Tomasula report’s (CAPD_009734532) 242 pages, 96 pages (40% of the report)

are fully redacted, and many other pages have significant chunks of information redacted.5

Another 19 pages of the report are simply yellow cover sheets for the 19 attachments. A public

news article by Joe Hanneman of the Epoch Times is Attachment No. 12, which takes up an

additional 8 pages.6 My court filing, ECF No. 72, is Attachment No. 11, and takes up 30 pages.

In total, 153 out of 242 pages of CAPD_009734532 (63%) are either entirely redacted, are cover

sheets, or are already available on the internet. And the remaining pages redact out information

the government considers sensitive.




Figure 4: The above snippet from my filing, ECF No. 72 at 3, is now designated highly sensitive information by the government.

           Section 1 of the protective order (ECF No. 26) makes clear there are only two levels of

sensitivity governed by the protective order: sensitive and highly sensitive. All other materials

have no sensitivity designation and are not subject to the protective order. With the protective

order in place, no items produced in discovery should be redacted since the information

contained in those materials is discoverable.


5
    This total does not include the many additional redactions and missing attachments from the Barcus report.

6
 This ‘highly sensitive’ news article is available online at: https://www.theepochtimes.com/us/undercover-dc-
police-officer-pushed-protesters-toward-capitol-climbed-over-barricade-court-filing-5067663
            Case 1:21-cr-00128-RC Document 143 Filed 08/31/23 Page 7 of 15




          Section 8 is the only provision in the protective order that allows redactions, but those

redactions are to “resolve the basis for which a sensitivity designation is applied.” Once

redactions are applied, they “render the materials no longer subject to this order.”

          The protective order does not allow for a sensitivity designation above ‘highly sensitive,’

so redacted information cannot be more sensitive than unredacted information. There is no

splitting of the ‘highly sensitive’ designation between information the government wants to show

and information the government wants to hide! [And that would be a Brady violation]. The only

reason highly sensitive discovery can be redacted is to reduce the sensitivity of the unredacted

information and “render the materials no longer subject to this order.”




Figure 5: Section 8 of the protective order is the only provision for redacting discovery, and such redactions are used to “render
the materials no longer subject to this Order. Therefore, the unredacted portions of CAPD_009734532 cannot be sensitive.

          CAPD_009734532 is not a classified government document, and there are no

justifications for redacting the information it contains other than to render the redacted copy non-

sensitive. The only copy of the report that could arguably be designated as ‘highly sensitive’ is

the unredacted version. If the government designates redacted, discoverable information as

highly sensitive, the government is in violation of the redaction provision in Section 8.
           Case 1:21-cr-00128-RC Document 143 Filed 08/31/23 Page 8 of 15




         Since Section 8 redactions are to “render the materials no longer subject to the protective

order,” a sensitivity designation is not necessary for CAPD_009734532. In fact, such a

designation circumvents the protective order. By using a sensitivity designation on redacted

materials, the government violates Section 1, which explicitly says “this Order will not be used

to designate materials as Sensitive or Highly Sensitive unless such designation is necessary.”

         Furthermore, since the government has not yet provided the unredacted version of

CAPD_009734532 in discovery, and since the government has lopped off all the attachments

from the redacted Barcus report, the government is also in violation of Section 12 of the

protective order, which requires the government to produce all exculpatory information.7

         The absurdity of designating redacted materials as ‘highly sensitive’ is easily illustrated.

         CAPD_009734532 includes my filing, ECF No. 72, as an attachment, but redacts my

name and federal case number in that attachment. Since ECF No. 72, is publicly available on the

internet, and since my name and case number are also publicly known, a reasonable person

seeing these redactions would conclude that all information in the report that was not redacted

must be less sensitive that my redacted name and case number.

         The government redactors deemed my name and case number (which is publicly

available information), to be the most sensitive information I disseminated in ECF No. 139.8 If

all quotations in ECF No. 139 are less sensitive than publicly available information, then no

quotation in ECF No. 139 contains highly sensitive information subject to the protective order.

7
 As I pointed out in ECF No. 139 at 9, 13, 14 and 39, MPD Internal Affairs determined Tomasula’s text messages
were discoverable materials that were favorable to the accused. So, the government redacting Attachment 19,
which contains 90 pages of Tomasula’s texts with the Proud Boys, violates Section 12 of the protective order.

8
 Since I include my name and case number in all my public court filings (including this one), it was reasonable for
me to conclude that quoting non-redacted information from CAPD_009734532 was also acceptable.
            Case 1:21-cr-00128-RC Document 143 Filed 08/31/23 Page 9 of 15




Figure 6: Section 9 of the protective order allows me to contest sensitivity designations. Since the government’s ‘highly sensitive’
designation for CAPD_009734532 violates Sections 1, 8, and 12 of the protective order, I must exercise Section 9!

          Since ECF No. 26 at Section 9, allows the defense to contest a sensitivity designation. I

am doing so in this cross-motion. The government has not yet met their burden to demonstrate a

need for the highly sensitive designation. In fact, the government’s own redactors have admitted

that the unredacted portions of the report are less sensitive than my name and case number on

public documents. And by redacting CAPD_009734532, the government rendered it non-

sensitive according to Section 8. Therefore, I am exercising Section 9 of the protective order, and

motioning the Court to make this already redacted report have no sensitivity designations at all.9

Materials that will “Later Become” Public Record are Excluded from the Protective Order

          ECF No. 26 at Section 11(a), notes that materials that will “later become” part of the

public record are “automatically excluded from this order.” Since I intend to introduce this report

as evidence in my trial, it will later become part of the public record, and thus, “this order does

not apply.” Therefore, since Section 11(a) of the protective order excludes CAPD_009734532, I

am allowed to quote the report in court filings to position my defense for trial. Furthermore,

attorneys in other January 6 cases have informed me that they intend to publicly use this report in




9
 Removing the sensitivity designation will cure the government’s violations of Sections 1 and 8 of the protective
order, but the government will still be in violation of Section 12 until they produce the unredacted report.
           Case 1:21-cr-00128-RC Document 143 Filed 08/31/23 Page 10 of 15




their cases as well. Since this report will be used in many January 6 cases, Section 11(a) of ECF

No. 26 exempts CAPD_009734532 from the protective order.10




Figure 7: Section 11(a) of the protective order (ECF No. 26) excludes items from the order that will “later become” public record.
Since I intend to use CAPD_009734532 in my trial, it will “later become” public record, and is excluded from the protective order.

          Even though CAPD_009734532 is automatically excluded by Section 11(a), and even

though Judge Contreras has not objected to quoting from sealed materials in court filings so far,

I, in a desire to stay well within the lines of the protective order, exercised Section 9 in ECF No.

139 at 40, to change the designation from highly sensitive to sensitive. I did this so the

government would have no doubt that I am permitted to possess these materials. However, since

the government has raised frivolous and hyperbolic objections to my use of CAPD_009734532

which has resulted in my motion, ECF No. 139 temporarily being removed from the docket, I, in

the previous section of this filing, again exercised Section 9, motioning the Court to completely

remove all sensitivity designations from CAPD_009734532.

          I also move that the Court explicitly make clear to the government that

CAPD_009734532 is a Section 11(a) material, which is automatically excluded from the

protective order. I already established on March 31, 2023, in ECF No. 95 at 3, that Tomasula is a

material witness in my case, whom I will call to testify. On August 21, 2023, in ECF No. 139 at

8, I reiterated that Tomasula is material to my defense. In examining Tomasula, I will need to

submit an unredacted copy of CAPD_009734532 into evidence. Since doing so will make

10
  I presume the government was also relying on Section 11 of the protective order when they quoted from and
disseminated descriptions of sensitive and highly sensitive materials in ECF No. 125.
            Case 1:21-cr-00128-RC Document 143 Filed 08/31/23 Page 11 of 15




CAPD_009734532 a public record, CAPD_009734532 is considered a Section 11(a) material

that will “later become” public. This automatically excludes CAPD_009734532 from the

protective order.

           Therefore, I move the Court to clarify for the government that this report, which is

already exempted by Section 11(a), is not bound by the protective order, and that quoting from

CAPD_009734532 (even the unredacted version11) is not in violation of Section 4(d).

The Government Seeks to Remove ECF No. 139 to Avoid Producing Brady Materials

           As noted in ECF No. 139, the government has failed to produce a number of highly

relevant Brady materials in discovery and may be illegally altering evidence to remove facts that

are inconvenient to the government. The government’s refusal to account for all undercover

MPD officers at the Capitol and to produce their recordings and communications is a violation of

Section 12 of the protective order (ECF No. 26). The government filed ECF Nos. 140 and 141,

because they are mad that I exposed their violations of the protective order. The government

seeks to remove my motion, ECF No. 139, to evade their Section 12 obligations. The Court

should not allow these illicit tactics and should restore ECF No. 139 to the docket immediately to

compel the government to cure their Section 12 violations.




Figure 8: Section 12 of the protective order makes it clear that the government is still obligated to produce all discoverable and
exculpatory materials to the defense. My motion to compel pointed out many such materials the government has withheld, so
the government motioned to remove ECF No. 139 because it exposed the government’s Section 12 violations.

11
     I presume the government will promptly produce the unredacted version to cure their violation of Section 12.
         Case 1:21-cr-00128-RC Document 143 Filed 08/31/23 Page 12 of 15




Cross-Motion to Remove ECF No. 90

       In ECF No. 140, the government argued that a motion should be removed from this case

because they claimed the motion violated Section 4(d) of the protective order (ECF No. 26).

Section 4(d) says that “absent prior agreement by the parties or permission from the Court, no

party shall disclose materials designated as Sensitive or Highly Sensitive in any public filing

with the Court.” The government’s interpretation of this rule is that even if the original sealed

materials are not submitted in a filing, a filing that “contains information that is subject to the

protective order” (ECF No. 140) is in violation of Section 4(d) of ECF No. 26. Since the

government is a party in this case, the government is also bound by Section 4(d) of the protective

order, so by the government’s own standards, any government filing that “contains information

that is subject to the protective order” (ECF No. 140), should be removed by the Court.

       ECF No. 90 in this case was filed by the government, a party in this case, and contains

information subject to the protective order. In ECF No. 90 at 2, the government quoted MPD

Officer Tomasula. These quotations are information contained in CAPD_009734532, which the

government insists is highly sensitive. Furthermore, the government insists that disseminating

unredacted information contained in CAPD_009734532 is a violation of the protective order that

justifies the Court removing a filing from this case.

       Therefore, should the Court adopt the government’s strict interpretation of Section 4(d)

of the protective order and remove ECF No. 139 (even though I have shown CAPD_009734532

is exempted by Sections 8 and 11(a) of the protective order), I must move the Court to also

remove the government’s filing, ECF No. 90, because the government has hypocritically violated

their own strict interpretation of Section 4(d) of ECF No. 26. Should the Court not adopt the

government’s strict interpretation of Section4(d), this motion should be considered moot.
        Case 1:21-cr-00128-RC Document 143 Filed 08/31/23 Page 13 of 15




Summary of Objections and Cross-Motions


•   The Government has violated their own strict interpretation of Section 4(d) of the protective

    order by disseminating information from CAPD_009734532 in their public court filings, yet

    the government has not motioned to remove their own filings that quote sealed materials.

•   Judge Contreras has not objected to the government quoting sealed materials, and Judge

    Contreras referred to the government’s filing, ECF No. 90, in a Court order, so a reasonable

    person would conclude that parties quoting from sealed materials (as the government has

    done) has “permission from the Court” as outlined in Section 4(d) of the protective order.

•   The government violated Sections 1, 8, and 12 of the protective order.

       o Section 1 establishes only two levels of sensitivity designations: sensitive and highly

           sensitive. There is no ‘super-duper sensitive’ designation above highly sensitive that

           allows the government to redact discoverable information.

       o Section 8 is the only provision in the protective order allowing discovery to be

           redacted, and Section 8 redactions render materials no longer subject to the order.

       o Once discovery materials have undergone Section 8 redactions rendering the

           materials no longer subject to the protective order, the government cannot apply

           sensitivity designations to them. For the government to do so would violate Section 1

           of the protective order, which prohibits the order being used “to designate materials

           as Sensitive or Highly Sensitive unless such designation is necessary.

       o Since the unredacted portions of CAPD_009734532 are discoverable information and

           are based on the redacted portions of the report, the redacted portions are also

           discoverable information. MPD even acknowledged in the report that Tomasula’s

           texts with Proud Boys (which were redacted by the government) are discoverable.
        Case 1:21-cr-00128-RC Document 143 Filed 08/31/23 Page 14 of 15




       o Section 12 of the protective order requires the government to fulfill their obligation to

           produce discoverable and exculpatory information. The government violated Section

           12 by redacting CAPD_009734532, and not producing the original unredacted copy

           in discovery. And since there is no ‘super-duper sensitive’ designation, the

           government is also violating Sections 1 and 8 of the protective order by redacting the

           report while also designating the unredacted sections as highly sensitive.

•   Since my name and case number are redacted from a publicly available filing (ECF No. 72)

    attached to CAPD_009734532, no unredacted information in CAPD_009734532 can be

    designated more sensitive than my name and case number, which is public. Therefore, all

    unredacted portions of CAPD_009734532 should be considered public information.

•   Section 11(a) of the protective order automatically excludes materials that will later become

    public from the order. Since the unredacted version of CAPD_009734532 will be introduced

    as a trial exhibit in my case, and since many other defense attorneys have told me they intend

    to use CAPD_009734532 as well, CAPD_009734532 is automatically excluded from the

    order as a Section 11(a) material the will “later become” a public record.

•   Section 9 of the protective order allows the defense to contest a sensitivity designation. Since

    Section 8 redactions have rendered CAPD_009734532 no longer subject to the order, and

    since Section 11(a) automatically excludes CAPD_009734532 from the order, I am

    contesting the government’s designation of CAPD_009734532 as ‘highly sensitive.’

•   This filing has motioned the court to remove the sensitivity designation from

    CAPD_009734532, to recognize CAPD_009734532 as a Section 11(a) material, and to

    remove the government’s filing of ECF No. 90.
           Case 1:21-cr-00128-RC Document 143 Filed 08/31/23 Page 15 of 15




   For the foregoing reasons, the government’s emergency motion, ECF No. 140, should be

rejected by the Court. My motion to compel, ECF No. 139, should be immediately restored to the

docket.

          Respectfully submitted to the Court,

                                                      By: William Pope

                                                          /s/


                                                      William Pope
                                                      Pro Se Officer of the Court
                                                      Topeka, Kansas




                                         Certificate of Service
 I certify that a copy of this was filed electronically for all parties of record on August 31, 2023.
  Temporarily Sealed Exhibit 1 has been emailed directly to all parties by my standby counsel.

                                               /s/
                                  William Alexander Pope, Pro Se
